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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Digital Retail Apps, Inc.,

                 Plaintiff,                                Civil Action No.: 6:19-cv-167
 v.

 HEB Grocery Company, LP,
                                                              Jury Trial Demanded
                 Defendant,


                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Digital Retail Apps, Inc. ("DRA"), by its undersigned attorneys, alleges claims

of utility patent infringement and Texas unfair competition against Defendant HEB Grocery

Company, LP ("HEB"), with knowledge of its own acts and on information and belief as to other

matters, as follows:

                                            PARTIES

       1.       DRA is a private company having offices in Toronto and formerly also in San

Francisco, California. Its current principal place of business is at Wildeboer Dellelce Place, 365

Bay Street, Suite 800, Toronto, Ontario, M5H 2V1, Canada.

       2.       HEB is a Texas limited partnership having its principal place of business at 646

South Main Avenue, San Antonio, Texas 78204. According to the Texas Secretary of State

website, no individual is identified as HEB's registered agent. Accordingly, service of process

upon HEB may be effectuated upon any duly authorized officer or agent authorized to accept

service at its corporate address of 646 South Flores Street, San Antonio, Texas 78204.




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                                  JURISDICTION AND VENUE

        3.       This action arises under the patent laws of the United States of America, 35

U.S.C. §§ 1 et seq. This Court has exclusive subject matter jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a). The Court has supplemental jurisdiction over the Texas law-

based claim pursuant to 28 U.S.C. § 1367.

        4.       This Court has personal jurisdiction over HEB because: (1) it is a Texas limited

partnership; (2) HEB has retail operations in this District, including the "Lakeline" H-E-B Plus!

store at 14028 North US 183, Austin, Texas 78717; and (3) it has advertised, promoted, offered

for use, used, made, or imported, and continues to advertise, promote, offer for use, use, make, or

import infringing products at its facilities in this District.

        5.       Venue is proper in this District pursuant to 28 U.S.C. § 1400(b), at least because

HEB is incorporated in this state, has a regular and established place of business in this District,

and has committed acts of patent infringement in this District. HEB's acts of infringement in this

District include but are not limited to use of the HEB Go app and supporting kiosks and back-

end system(s) and server(s) ("Accused System") at HEB store locations, including but not

limited to the Lakeline HEB Plus! store at 14028 North US 183, Austin, Texas 78717.

                  FACTUAL ALLEGATIONS UNDERLYING ALL CLAIMS

                                       A. Wendy MacKinnon

        6.       Ms. Wendy MacKinnon, formerly known as Wendy MacKinnon-Keith, is an

internationally known expert in industry disruption, consumer behavior, channel partnerships and

strategy. Ms. MacKinnon spent the first part of her career as a retail and consumer technology

strategy consultant to Fortune 100 companies such as IBM, Ameritech, Nokia and Safeway. In

working for such companies, Ms. MacKinnon would identify early signs of industry change and




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then help the organization navigate the risks and market opportunities presented by the identified

burgeoning changes.

       7.       By 2011, Ms. MacKinnon recognized the next disruptive event in retail sales was

likely to be implementation of technologies that help to eliminate checkout lines at brick-and-

mortar retail establishments. Ms. MacKinnon then founded DRA, a retail mobile solutions

company, which she hoped could create and market needed disruptive technologies.

                    B. DRA's Product And Market Development Activities

       8.       DRA created an application called "SelfPay®," designed to move customers out

of checkout lines and to a more contextual purchasing decision process. Customers for DRA's

product were global and national chain retailers looking to offer their customers a truly mobile

shopping and payment option, direct from the aisle of their physical store.

       9.       The product saves shoppers time by allowing them to skip the checkout line by

using their own mobile device, for example their own smart phone, to scan in-store items, fill a

shopping cart, and pay for the items in-app using a variety of supported payment methods, such

as credit or debit cards, Apple Pay, PayPal, and others. One benefit of DRA's SelfPay® product

is that it brings the convenience and ease of online shopping into the spontaneous and often

impulse-based in-store environment.

       10.      DRA's SelfPay® product integrates with retailers' payments and point of sale

(POS) systems by interfacing between the shopper's mobile device and the retailer's back end

computer systems and processes. DRA's SelfPay® product thus improves and benefits brick-

and-mortar commerce. DRA also built a partner pool that includes industry leaders in payments,

POS, and retail solutions and raised more than a million dollars in funding to fuel growth of the

SelfPay® software products.




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       11.     To sell the application product, DRA partnered with global payment companies

including VISA, Synchrony Financial, and WorldPay, who showcased the SelfPay® technology

at various corporate facilities. (A copy of Ms. MacKinnon's Curriculum Vitae is attached as Ex.

1 and is incorporated in full herein.)

       12.     DRA evangelized the technology in various articles and media events. (A copy of

a listing of selected articles and media is set forth as Ex. 2, which is incorporated in full herein.)

That evangelization was somewhat facilitated by the fact that SelfPay® for retail customers and

SelfPay® Staff for retailers (collectively, SelfPay®) 1 won several industry awards 2 and the

products were compatible with both the iOS and Android mobile platforms for wireless devices

and integrate with major credit cards and mobile wallets.

                                           C. The Patents

       13.     Ms. MacKinnon invented the technology embodied in the SelfPay® application

and DRA filed and prosecuted to issuance a number of patents covering various aspects of the

technology. For instance, on February 25, 2014, U.S. Patent Application No. 14/189,623 was

filed. It is a continuation of and claimed priority to U.S. Patent Application No. 13/801,132 filed

on March 13, 2013, which claimed priority to U.S. Provisional Patent Application No.

61/615,140 filed March 23, 2012, U.S. Provisional Patent Application No. 61/732,268 filed

November 30, 2012, and U.S. Provisional Patent Application No. 61/751,653 filed January 11,



1
  SelfPay® is a registered trademark of Wendy MacKinnon as an individual.
2
  SelfPay® software has won Retail CIO Outlook's Top 10 Retail Mobility Solutions Providers
for August 2016; Pymnts.com's Innovation Project 2016's Best POS Innovation – Finalist in
March 2016 and Innovation Project; Most Innovative Company – Finalist March 2016; Rice
Alliance for Technology and Entrepreneurship; Most Promising IT and web company November
2015; Women in Payments Award for Innovation September 2015; Retail Council of Canada
RCC ReBoot Challenge, Finalist June 2015; CNP 2015; CNP Expo, Judges Choice Best Mobile
Solution, May 2015; Innotribe's Innotribe Startup Challenge, Finalist June 2014; ACT Canada
Cardware, Canadian Payments Innovation, Bronze June 2013.


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2013. After examination, the United States Patent and Trademark Office ("USPTO") issued U.S.

Patent No. 9,262,781 ("the '781 Patent"), entitled "System and Method for Facilitating Secure

Self Payment Transactions of Retail Goods" on February 16, 2016. Ms. MacKinnon assigned

the '781 Patent to DRA, and that Assignment can be found at Reel/Frame No. 032411/0358 of

the USPTO Assignment Database.

       14.     On January 5, 2016, U.S. Patent Application No. 14/988,118 was filed. It is a

continuation of and claimed priority to U.S. Patent Application No. 14/189,623 filed on February

25, 2014, which is a continuation of U.S. Patent Application No. 13/801,132 filed on March 13,

2013 (now U.S. Patent No. 8,720,771), which claimed the benefit of U.S. Provisional Patent

Application No. 61/615,140 filed March 23, 2012, U.S. Provisional Patent Application No.

61/732,268 filed November 30, 2012, and U.S. Provisional Patent Application No. 61/751,653

filed January 11, 2013. After examination, the USPTO issued U.S. Patent No. 9,934,506 ("the

'506 Patent") entitled "System and Method for Facilitating Secure Self Payment Transactions of

Retail Goods" on April 3, 2018. Ms. MacKinnon assigned the '506 Patent to DRA, and that

Assignment can be found at Reel/Frame No. 045343/0936 of the USPTO Assignment Database.

       15.     DRA has identified on its website that its software products are covered by the

'781 Patent since at least April 2016 and the '506 Patent since at least July 2018. (Copies of both

Patents are attached as Exs. 3 and 4, respectively, and are incorporated herein by this reference.)

These Patents are valid, enforceable and duly assigned to DRA, who has the sole right to sue for

infringement thereof.

       16.     The technology embodied in these Patents was licensed under a proof of concept

and royalty bearing agreement to one Canadian entity in 2013, as well as a partner contract with

Visa USA Inc. in 2016 to provide software that would enable Visa to showcase the SelfPay




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system to their own clients but those agreements have since terminated. DRA has since then not

been able to successfully license its technology, upon information and belief, due to industry

participants, such as HEB, deciding to usurp the technology for themselves without taking

available licenses to it from DRA.

       17.     The '781 and '506 Patents claim specific technologic improvements over prior in-

store payment systems and are directed to devices adapted to be used for in-store shopping and

complimentary devices for auditing purchases on the way out of the store. The elements and

combination of elements of these Patents' claims were not well-understood, routine, or

conventional to a skilled artisan in the field of in-store purchase application technology prior to

Ms. MacKinnon's inventions.

       18.     The '781 and '506 Patents further describe systems that improve the shopping

experience for a retailer's customer and profits for itself by relying on the reality that people are

now as likely to have their smartphone as their wallet during a shopping experience. The '781

and '506 Patents thus describe systems that improve the self-payment and check-out experience

for in-store purchases being made by customers. Indeed, and in contrast to shopping on a

website, customers using systems claimed in the '781 and '506 Patents may touch, inspect, and

compare side-by-side merchandise before deciding to purchase, yet like shopping on a website, it

is speedy, private, and requires little prying human interaction.

       19.     The '781 and '506 Patents also disclose and claim systems and methods that

improve the shopping experience over the use of self-checkout kiosks that bottleneck the flow of

customers at check-out counters during purchasing, while at the same time improve shopping

security for a store, because the patented systems avoid paper receipts, which can be falsified,

duplicated, etc. Also, importantly, though, the '781 and the '506 Patents do not preempt all




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processes for and verification of payment of goods and services for use with mobile devices,

even at brick-and-mortar stores. Indeed, the absence of preemption is evidenced by the sheer

number of patents and patent applications cited on the face of the '781 and the '506 Patents,

including U.S. Published Patent Application No. 2012/0284130 to PayPal, and also see

https://patents.google.com/patent/US8720771#citedBy (showing 65 citations to U.S. Patent No.

8,720,771, from which the '781 Patent is a continuation), with all of these references being

incorporated herein by this reference.

       20.     The claims of the '781 and the '506 Patents are not directed to a method of

organizing human activity, nor are they directed to a fundamental economic practice long

prevalent in our system of commerce. Rather, the patented systems and methods overcome

technical problems—how to allow a customer to speed through a retail shopping experience at

his or her own pace, while reducing complexity and unnecessary and unwanted human

interactions, all while improving security of the retailer against loss. Further, the claims of the

'781 and '506 Patents are narrowly drawn, for example by requiring "unique tokens" for purchase

verification, rather than combining known elements of prior art systems in a generic manner.

       21.     In short, the technology claimed in the '781 and '506 Patents addresses a technical

challenge, fulfilling the needs of customers who prefer the visual and tactile experience of in-

person shopping, but also seek the speed and ease of self-checkout, while simultaneously

satisfying a retailer's need for security against loss. Thus, the '781 and '506 Patents describe

systems and methods that improve an in-store experience that is unfettered by queues at the

registers, and thereby improve upon early kiosk-payment and paper-receipt-verification systems,

with technological improvements to the relevant art.




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                           D. HEB's Infringing And Unfair Conduct

       22.     On or about October 6, 2014, DRA representatives, including Ms. MacKinnon

and Ms. Susan MacKay, demonstrated DRA's SelfPay® and SelfPay® "Verify" (later renamed

SelfPay® "Staff") apps at a NextPoint Conference in San Diego, California. (A copy of the

conference brochure is attached as Ex. 5, and is incorporated herein by this reference.) The

Conference exhibitors, such as DRA, pay a healthy fee to participate in the Conference, while the

participants, such as HEB and others, are allowed to attend for free. In essence, the exhibitors

pay for the participants, with the quid-pro-quo being that the participants will consider

purchasing products from the exhibitors, not simply learn of their products and recreate them for

themselves without compensating the exhibitors.

       23.     Jaren Shaw, then and still Vice President of Customer Service for HEB in San

Antonio, Texas (see https://www.linkedin.com/in/jaren-shaw-060a446/, incorporated herein by

this reference), observed and discussed the DRA demonstration with Ms. MacKay, including

discussing DRA's innovative approach to in-store shopping and payment pioneered by its

SelfPay® apps. Ms. MacKinnon also discussed the SelfPay® apps with William (Bill) Triplett,

then Senior Vice President of Strategic Design for HEB (see

https://www.linkedin.com/in/william-triplett-b589a618/, incorporated hereby by this reference)

at the 2014 Conference.

       24.     On or about October 15, 2014, in response to a follow-up email from Ms.

MacKay that copied Ms. MacKinnon and referenced a potential partnership between DRA and

HEB, Jaren Shaw responded that "Bill and I are getting together to discuss next steps and will

get back to you shortly!" (See Ex. 6, incorporated herein by this reference.) Not much happened

on the HEB front after this communication until late 2015.




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       25.     On or about November 11, 2015, Danny Gilbert, then a Mobile iOS Developer for

HEB involved with development of the HEB Go app (see https://www.linkedin.com/in/danny-

gilbert/, incorporated herein by this reference), reached out to DRA via a contact form on the

DRA website and entered the following message: "Hey there, I was looking over this product

and would love to learn more about how this is being implemented today, as well as how in

depth this service can be integrated with existing Point-of-Sale systems?" On the contact form,

Mr. Gilbert provided a phone number having a 210 (San Antonio) area code and indicated "HEB

Grocery" as his "Company."

       26.     Mr. Gilbert was requesting a "trial box," which was offered on the DRA website

in November 2015 and enabled a user to test out SelfPay® (both SelfPay® for retail customers

and SelfPay® Staff for retailers) on its own. DRA sent Mr. Gilbert the requested trial box,

which consisted of a beacon (a device that indicated a shopper was present at a specific physical

store location), a box of TIC TAC® candies (TIC TAC is a registered trademark of Ferrero

S.p.A.), a HERSHEY'S® candy bar (HERSHEY’S is a registered trademark of Hershey

Chocolate & Confectionery Corporation), an instruction sheet and a bar-code sheet. Photographs

showing these typical box contents are reproduced below.




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       27.     The trial kit was received and used by Mr. Gilbert or someone acting under his

direction. As is relevant here, to use the kit, source code for SelfPay® for retail customers and

SelfPay® Staff for retailers needed to be downloaded onto two separate mobile devices. These

programs could be downloaded only after execution of a SelfPay® and SelfPay® Staff Terms of

Use Agreements. (Copies of these agreements are attached as Exs. 7 and 8, and are incorporated

herein by this reference.) These agreements prohibit the party gaining access to the programs,

such as Mr. Gilbert, from using any learned information, essentially, for any purpose other than

evaluating the programs for and in connection with acquiring product or rights in technology

from DRA.




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       28.     On November 11, 2015, someone calling themselves Daniel Gilbert created an

account to access the DRA software using the name “Daniel Gilbert” and the email address

spydercapriani@gmail.com. Upon information and belief, Mr. Gilbert or someone working

under his direction then executed the SelfPay® and SelfPay® Staff terms of Use Agreements

and then completed the needed software downloads.

       29.     Also on November 11, 2015, Craig Marquis, IT Application Portfolio Manager

for HEB, ordered a SelfPay® Trial Kit by using the DRA website link. The online order was

received by a partner company of DRA, Two Canoes, which is based in Chicago, Illinois. (An

email string evidencing these facts is attached as Ex. 9, and it is incorporated herein by this

reference.) The trial kit was received by Mr. Marquis, and upon information and belief, he too

executed the SelfPay® and SelfPay® Staff Terms of Use Agreements.

       30.     A day later, on November 12, 2015, Ms. MacKay had a telephone conversation

with an HEB representative, believed to be Daniel Gilbert. The conversation led Ms. MacKay to

believe that there was a chance HEB would run a pilot program with DRA as a proof of concept

for the SelfPay® application and then, incredibly, and in violation of the SelfPay® and SelfPay®

Staff Terms of Use Agreements, build a competing product itself. In response to her concern,

Ms. MacKay notified the HEB representative of the patented nature of SelfPay® and spent "a lot

of time" discussing how prior patent workaround attempts were not effective, and therefore

licensing technology from DRA was a better option. Ms. MacKay evidenced this

communication in an email to Ms. MacKinnon. (See Ex. 10, incorporated herein by this

reference.) As we shall see, HEB did not heed Ms. MacKay's advice.

       31.     On November 19, 2015, Daniel Gilbert made two product “purchases” on the

DRA trial system using the same spydercapriani@gmail.com email address. Upon information




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and belief, Mr. Gilbert, Mr. Marquis or someone acting under their control and on HEB’s behalf,

used without authorization and in violation of the SelfPay® and SelfPay® Staff Terms of Use

Agreements information of DRA, including proprietary information, to develop and/or in the

development of the Accused System.

       32.      DRA created, through its own extensive expenditure of time, labor, effort, skill,

and money, the SelfPay® and SelfPay® Staff apps and created a market for such products

("Business Values"). HEB used dishonest means to learn as much as it could about the SelfPay®

technology, much of which is not disclosed in the Patents, from DRA and then used that

information to gain a special advantage in the market and in its business by not having been

burdened by the expenses incurred by DRA to develop the technology, gaining a significant

savings in research and development time and effort, and being relieved of the uncertainty and

risk of being the first to put forth the effort and expenditure for a cutting-edge product and

developing a market therefor. HEB did all this by violating valid and subsisting contractual

obligations owed to DRA.

                    COUNT I - INFRINGEMENT OF THE '781 PATENT

       33.      DRA repeats and re-alleges the allegations of the above paragraphs as if fully set

forth herein.

       34.      The '781 Patent includes 29 claims. HEB directly infringes one or more of these

claims without authority of DRA by making and or using products and systems, including

without limitation, the Accused System, for verifying the purchase of goods and services by its

consumers using a mobile device capable of communicating with one or more servers controlled

by HEB. More specifically and without limitation, HEB has been and is directly infringing,




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either literally or under the doctrine of equivalents, at least Claims 1 and 12 of the '781 Patent by

making, offering and using the Accused System in the United States:




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1. A computer-implemented          HEB provides a computer-implemented method for verifying the purchase of goods between one or more of its grocery
method for verifying the           stores and one or more customers at least through its “HEB Go” app and related server(s) and kiosks. Moreover, HEB
purchase of goods and services     actively encourages its customers to install the HEB Go app on their Apple or Android smartphone. E.g., Luis de Leon, H-
between a consumer and a           E-B Launches App to Help Customers Skip the Line, KVUE ABC at https://www.kvue.com/article/news
retailer, said consumer having a   /local/h-e-b-launches-app-to-help-customers-skip-the-line/269-614317048 (last accessed Feb. 5, 2019), and that app allows a
mobile device capable of           customer to at least:
communicating with a server,
and said retailer having an                “1. Scan: Use your mobile device to scan your items as you place them in your cart or bag. The app allows you to
electronic device capable of               place items into your cart as you shop or you can add and remove products before finalizing your purchase.
communicating with the server
and with the mobile device, the            2. Pay: Once you are ready to pay, select the pay icon on your mobile device to finalize the order. If you have any
method comprising the                      age restricted items or coupons you must go to the H-E-B Go kiosk where one of our friendly Partners can help to
following steps:                           finalize your transaction.

                                           3. Go: Upon exiting the store, show your digital receipt from your mobile device to the H-E-B Go Partner. Using
                                           the H-E-B Go App is another way to shop with ease and convenience!”

                                   The system also has other relevant functionality, and the app running on an iPhone is shown below:




                                   Apple, H-E-B Go on the App Store, at https://itunes.apple.com/us/app/h-e-b-go/id1207941943?mt=8 (last accessed Feb. 5,
                                   2019).




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                                     The HEB Go app communicates with a kiosk installed at an HEB grocery store and, on information and belief, the kiosk is
                                     capable of communicating with HEB’s back-end server and a customer’s mobile device.




                                     (In communication with smartphone)                           (In communication with server)


receiving a first set of data from   On information and belief, one or more HEB servers receive data from a customer’s mobile device, the data being indicative
the mobile device, said first set    of various items the customer may wish to purchase at the HEB grocery store. For example, a HEB customer, while in the
of data comprising identifying       HEB grocery store and using the HEB Go app scans bar codes associated with items of interest:
information for one or more
goods or services to be
purchased;




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   (Empty Cart)                 (Scanning a bar code)                   (Item added to cart—in red)


 Information regarding desired items is then, upon information and belief, communicated by the customer's device to the HEB
 kiosk(s) via the HEB server(s):




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                                     (App instructs customer                 (Kiosk instructs customer          (Kiosk receives information)
                                    to communicate with kiosk)                to communicate)




receiving a second set of data    On information and belief, one or more HEB servers receive data from a customer’s mobile device, the data identifying a
from the mobile device, said      method of payment for the customer’s purchase. For example, a HEB customer using the HEB Go app adds a payment
second set of data identifying    method (e.g., a credit card—in blue below) to the HEB Go app:
payment means for the
consumer's purchase of said
one or more goods or services;



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 Upon information and belief, the payment information is transmitted from the customer's device to the HEB server(s), and
 then to the HEB kiosk(s).




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                                (App instructs customer      (Kiosk instructs customer         (Kiosk receives information)
                              to communicate with kiosk)                   to communicate)



transmitting a request for    On information and belief, one or more of HEB’s servers transmits a request for payment authorization to a payment
payment authorization to a    processing system for the payment method provided by the HEB Go app:
payment processing system,
said request for payment
identifying said payment
means;




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receiving from the payment          On information and belief, one or more of HEB’s servers receives a response to the request for payment authorization from a
processing system a response to     payment processing system, the response indicating whether or not the request was approved:
the request for payment
authorization indicating
whether or not the request for
payment authorization was
approved;




                                                                                                            (After a successful transaction)

creating in response to an          On information and belief, one or more of HEB’s servers creates—in response to an approved request—a data record in a
approved request for payment        database representing the consumer’s completed purchase of desired goods.
authorization a data record in a
database representing the
consumer's completed purchase
of said one or more goods or
services;




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generating in response to the     On information and belief, one or more of HEB’s servers generates and maintains in a data record - in response to a
completed purchase of said one    completed purchase—a unique token (i.e. a bar code annotated in purple below) and included on the electronic “receipt”
or more goods or services via     sent to the customer’s HEB Go app upon successful completion of a shopping transaction.
the identified payment means a
unique token, said unique token
associated with said data
record;




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transmitting said unique token      On information and belief, one or more of HEB’s servers transmits the bar code to the customer’s HEB Go app and it can be
to the mobile device for use by     accessed by the app for future use.
the consumer to verify to the
retailer the purchase of said one
or more goods or services by
wirelessly transmitting said
unique token to a retailer
electronic device;




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receiving from the retailer        On information and belief, one or more HEB servers receive a request from a customer service representative, as part of a
electronic device a request to     product returns process, to verify a bar code that has been wirelessly transmitted from the customer’s HEB Go app to the
verify the unique token            HEB server(s).
wirelessly transmitted from the
mobile device in order to
confirm the consumer's
purchase of said goods or
services;



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transmitting to the retailer     On information and belief, one or more HEB servers transmits to the customer service representative, as part of the returns
electronic device information    process, information indicating whether the bar code is valid, as shown above.
indicating whether the unique
token is valid; and




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wherein the steps of receiving      As detailed above and on information and belief, each of the steps of receiving the first set of data, receiving the second set
the first set of data, receiving    of data, transmitting a request for payment authorization, creating a data record, generating unique tokens, transmitting the
the second set of data,             unique tokens, receiving a request to verify the unique tokens, and transmitting information indicating whether the unique
transmitting a request for          tokens are valid are performed by one or more of HEB’s servers.
payment authorization, creating
the data record, generating said
unique token, transmitting said
unique token, receiving a
request to verify the unique
token, and transmitting
information indicating whether
the unique token is valid are
performed by the server.

12. The method of claim 1           A smartphone having the HEB Go app installed thereon is equipped with location service functionality:
wherein the mobile device is
equipped with location service
functionality and further
comprising the steps of:




receiving from the mobile           On information and belief, one or more of HEB’s servers receives from a customer’s mobile device on which the HEB Go
device an indication that the       app is active an indication that the mobile device is located near a retailer location and the HEB Go app will not function in
mobile device is located near a     the prescribed manner unless the customer/user is located near a HEB grocery store.
retailer location; and




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transmitting to the mobile        On information and belief, one or more of HEB’s servers transmits to the customer’s mobile device a notification (annotated
device a notification that the    in orange below) that the mobile device is located near a retailer location.
device is located in or near a
retailer location.




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       35.      HEB has had actual knowledge of the '781 Patent at least as early as the service of

this Complaint. HEB has since at least then indirectly infringed the '781 Patent within the United

States by inducement under 35 U.S.C. § 271(b). By failing to cease making and using the

Accused System at least as of the date of HEB's knowledge of the ‘781 Patent, HEB has

knowingly and intentionally induced users of the Accused System to directly infringe one or

more claims of the '781 Patent, inter alia, by: (1) providing instructions or information, for

example on its publicly available website, to explain how to use the Accused System in an

infringing manner, including the use of the Accused System in manners described above, which

are expressly incorporated herein; and (2) touting these infringing uses of the Accused System.

One example is HEB's App Store listing for the HEB Go, which details how to use the Accused

System, can be found at https://itunes.apple.com/us/app/h-e-b-go/id1207941943, which is

incorporated herein by this reference.

       36.      HEB's acts of infringement have occurred within this District and elsewhere

throughout the United States.

       37.      Based upon the facts and circumstances alleged herein, HEB's infringement of the

'781 Patent was and is being committed willfully.

       38.      DRA has been damaged and will suffer additional damages and irreparable harm

unless HEB is enjoined from further infringement.

                    COUNT II - INFRINGEMENT OF THE '506 PATENT

       39.      DRA repeats and re-alleges the allegations of the above paragraphs as if fully set

forth herein.

       40.      The '506 Patent includes 24 claims. HEB directly infringes one or more claims of

the '506 Patent without authority by making and using products and systems, including without




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limitation, the Accused System. More specifically and without limitation, HEB has been and is

directly infringing, either literally or under the doctrine of equivalents, at least Claim 1 of the

'506 Patent by making, offering and using the Accused System in the United States:




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1. A computer-implemented           HEB provides a computer-implemented method for spot-checking and verifying a customer’s in-store purchase of goods
method for spot-checking and        prior to the consumer exiting the store through the use of at least the “HEB Go” kiosk, which is capable of communicating
verifying a consumer's in-store     with a customer’s mobile device having installed thereon the HEB Go app and one or more HEB servers. HEB actively
purchase of goods and services      encourages its customers to install the HEB Go on their Apple or Android smartphone. E.g., Luis de Leon, H-E-B Launches
from a retailer prior to the        App to Help Customers Skip the Line, KVUE ABC at https://www.kvue.com/article/news
consumer exiting the store, said    /local/h-e-b-launches-app-to-help-customers-skip-the-line/269-614317048 (last accessed Feb. 5, 2019), and the HEB Go app
retailer having an electronic       allows a customer to:
device capable of
communicating with a server                 “1. Scan: Use your mobile device to scan your items as you place them in your cart or bag. The app allows you to
and with a consumer's mobile                place items into your cart as you shop or you can add and remove products before finalizing your purchase.
device, the method comprising
the following steps:                        2. Pay: Once you are ready to pay, select the pay icon on your mobile device to finalize the order. If you have any
                                            age restricted items or coupons you must go to the H-E-B Go kiosk where one of our friendly Partners can help to
                                            finalize your transaction.

                                            3. Go: Upon exiting the store, show your digital receipt from your mobile device to the H-E-B Go Partner. Using
                                            the H-E-B Go App is another way to shop with ease and convenience!”

                                    The system also has other relevant functionality, and the app, running on an iPhone, is shown below:




                                    Apple, H-E-B Go on the App Store, at https://itunes.apple.com/us/app/h-e-b-go/id1207941943?mt=8 (last accessed Feb. 5,
                                    2019).




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                                  The HEB Go app communicates with a kiosk installed at an HEB grocery store. As detailed below and on information and
                                  belief, the kiosk is capable of communicating with HEB’s server and a customer’s mobile device.




                                  (In communication with smartphone)                         (In communication with server)

the retailer electronic device    The HEB Go kiosk receives, from a customer’s device having installed thereon the HEB Go app, a unique order number or
receiving from the consumer's     "token" (annotated in red below):
mobile device prior to the
consumer exiting the store a
unique token that uniquely
corresponds to the consumer's
in-store purchase of goods and
services;




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the retailer electronic device      On information and belief, the HEB Go kiosk transmits to one or more HEB servers a request to verify the consumer’s in-
transmitting to the server a        store purchase, through use of the token, annotated in red below:
request to verify the consumer's
in-store purchase of goods and
services, said request including
the unique token;



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the retailer device receiving       On information and belief, the HEB Go kiosk receives from one or more HEB servers a response indicating whether the
from the server a response          unique order number, i.e. token, is valid, as shown above.
indicating whether the unique
token is valid;


the retailer device displaying an   The HEB Go kiosk changes its display once the consumer scans the QR code of the HEB Go kiosk and the HEB Go kiosk
indication of whether the           confirms whether the order is valid.
unique token received from the
mobile device is valid;




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upon receiving an indication        On information and belief, the HEB Go kiosk receives an indication from one or more HEB servers that the unique order
from the server indicating that     number is valid, annotated in blue below:
the token is valid, the retailer
device prompting a user of the
retailer device for a response
indicating whether the
customer's in-store purchase of
goods and services have been
inspected and approved;




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and the retailer device            On information and belief, the HEB Go kiosk transmits to one or more HEB servers payment processing information after
transmitting to the server         inspection and approval is confirmed on the kiosk.
information indicating that the
customer's in-store purchase of
goods and services has been
inspected and approved by the
user of the retailer device.




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       41.      HEB has had actual knowledge of the '506 Patent since at least as early as the

service of this Complaint. At least as early as then, HEB indirectly infringed the '506 Patent

within the United States by inducement under 35 U.S.C. § 271(b). By failing to cease making

and using the Accused System at least as of the date of HEB's knowledge, HEB has knowingly

and intentionally induced users of the Accused System to directly infringe one or more claims of

the '506 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example

of this inducement is HEB's App Store listing for the HEB Go app, which details how to use the

Accused System.

       42.      HEB's acts of infringement have occurred within this District and elsewhere

throughout the United States.

       43.      Based upon the facts and circumstances alleged herein, HEB's infringement of the

'506 Patent was and is being committed willfully.

       44.      DRA has been damaged and will suffer additional damages and irreparable harm

unless HEB is enjoined from further infringement.

                           COUNT III - BREACH OF CONTRACT

       45.      DRA repeats and re-alleges the allegations of the above paragraphs as if fully set

forth herein.

       46.      The SelfPay® and SelfPay® Staff Terms of Use Agreements are valid and

subsisting agreements ("Agreements").

       47.      Mr. Gilbert and/or Mr. Marquis executed the Agreements by and for the benefit of

HEB, meaning HEB is bound to the terms of the Agreements.

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       48.      HEB materially breached the Agreements, specifically including the limited

license and conduct obligations, by allowing the SelfPay® and SelfPay® Staff programs to be

accessed and/or utilized in connection with development of the Accused system.

       49.      DRA has suffered commercial damage as a result of HEB's material and

continuing breach of its obligations under the Agreements.

       50.      DRA is also being irreparably harmed by HEB's material breaches, for which

there is no remedy at law.

         COUNT IV - UNFAIR COMPETITION DUE TO MISAPPROPRIATION

       51.      DRA repeats and re-alleges the allegations of the above paragraphs as if fully set

forth herein.

       52.      Unfair competition under Texas law is the umbrella for all statutory and

nonstatutory causes of action arising out of business conduct which is contrary to honest practice

in industrial or commercial matters. The tort requires that the plaintiff show an illegal act by the

defendant that interfered with the plaintiff's ability to conduct its business. Although the illegal

act need not necessarily violate criminal law, it must at least be an independent tort. Such a tort

can be misappropriation, where plaintiff must show (1) plaintiff's creation of a product through

extensive time, labor, skill and money; (2) defendant's use of that product in competition with

plaintiff, thereby gaining a special advantage in that competition, that is a "free ride" because the

defendant is burdened with little or none of the expense incurred by plaintiff; and (3) commercial

damage to plaintiff.

       53.      HEB gained access to DRA's Business Values and used them, in violation of

contractual obligations owed DRA, to decide to and to create the Accused System, thus

improperly gaining a special advantage over DRA and HEB has been and is in competition with

DRA. In other words, HEB has been and continues to free ride on DRA and its investments.

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          54.    As a result of HEB's misappropriation, DRA has suffered commercial damage in

the nature of at least lost fees that would have flowed from providing HEB with its commercial

products, etc.

          55.    DRA is also being irreparably harmed by HEB's complained of conduct, as stated

herein.

                                     PRAYER FOR RELIEF

          WHEREFORE, DRA respectfully requests that the Court enter judgment as follows:

          A.     Declaring that HEB has willfully infringed the '781 and '506 Patents;

          B.     Awarding damages in an amount to be proven at trial, but in no event less than a

reasonable royalty, for HEB's infringement, and all damages for breaches and misappropriation,

including pre-judgment and post-judgment interest at the maximum rate permitted by law;

          C.     Ordering a permanent injunction enjoining HEB, its officers, agents, servants,

employees, attorneys, and all other persons in active concert or participation with them from

continuing to infringe the Patents-in-Suit and/or to offer or use the Accused System;

          D.     Ordering an award of reasonable attorneys' fees against HEB to DRA as provided

by 35 U.S.C. § 285 or other relevant law or provision;

          E.     Awarding expenses, costs, and disbursements in this action against HEB,

including prejudgment interest;

          F.     An award of HEB's profits, DRA's actual damages, enhanced damages, exemplary

damages, costs, prejudgment and post judgment interest, and reasonable attorney fees for HEB's

unfair competition, misappropriation and breaches under Texas State law and/or the Province of

Ontario and Canadian federal law; and

          G.     Awarding such other and further relief as the Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, DRA hereby demands a trial

by jury in this action of all claims so triable.

Dated: February 20, 2019                            Respectfully submitted,

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